     Case 3:19-cv-30103-KAR Document 13 Filed 09/12/19 Page 1 of 2




                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF MASSACHUSETTS


RICKEY ROGERS                                                       :
                                                                    :
                 Plaintiff                                          :       CIVIL ACTION
                                                                    :       NO. 3:19-CV-30103-KAR
v.                                                                  :
                                                                    :
STATE AUTOMOBILE CORPORATION                                        :
D/B/A STATE AUTO INSURANCE COMPANIES                                :
                                                                    :
Defendant                                                           :       SEPTEMBER 12, 2019


                       REQUEST FOR EXTENSION OF TIME TO PLEAD

         Pursuant to Federal Rule of Civil Procedure 6(b)(1) the Defendant, Patrons Mutual

Insurance Company of Connecticut, incorrectly named as “State Automobile Corporation d/b/a

State Auto Insurance Companies,” (hereinafter the “Defendant”) hereby moves for a 21-day

extension of time, up to and including October 10, 2019, in which to file a responsive pleading to

the Plaintiff’s complaint. This is the Defendant’s first request for extension of time to file a

responsive pleading to the Complaint. The responsive pleading is currently due September 19,

2019, and thus this Request is made prior to the expiration of the original deadline. See F.R.C.P.

6(b)(1). Defendant seeks the requested extension because it requires additional time to formulate

an appropriate response to the complaint, including any all applicable defenses.

         The Defendant contacted the Pro Se Plaintiff inquiring whether he consented to the

requested extension. Although the Defendant received a response from Plaintiff, it is unclear

from the Plaintiff’s response whether he consents or objects to the request. This case has not

ORAL ARGUMENT NOT REQUESTED


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  Case 3:19-cv-30103-KAR Document 13 Filed 09/12/19 Page 2 of 2




been assigned for trial.

       WHEREFORE, the Defendant respectfully requests that its Request for Extension of

Time be granted.

                                         DEFENDANT,
                                         PATRONS MUTUAL INSURANCE COMPANY OF
                                         CONNECTICUT INCORRECTLY NAMED
                                         STATE AUTOMOBILE CORPORATION
                                         D/B/A STATE AUTO INSURANCE COMPANIES,

                                                 /s/ Deborah Etlinger (565222)
                                                 Deborah Etlinger (565222)
                                                 Wolf, Horowitz & Etlinger, LLC
                                                 750 Main Street, Suite 606
                                                 Hartford, CT 06103
                                                 (860) 724-6667
                                                 detlinger@wolfhorowitz.com



                                   CERTIFICATE OF SERVICE

       This is to certify that a copy of the foregoing has been sent, via U.S. Mail, postage pre-

paid, to the following party on September 12, 2019.

Rickey Rogers
47 Gatewood Road
Springfield, MA 01119
Pro Se Plaintiff



                                                         /s/ Deborah Etlinger (565222)
                                                         Deborah Etlinger




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